Case 2:03-cV-02887-BBD-tmp Document 31 Filed OS/lB/O?®Page 1 of 2 Page|D 46
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FoR THE WESTERN DISTRICT oF T§
WESTERN DIVISI%M% rstac,t£§)\§\l

 

 

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SHEVITA CRANE,
Plaintiff, Case No.: 03-2887 D
v.
PEPSI AMERICAS,
Defendant.
ORDER TO SHOW CAUSE

 

On May 31, 2005, Defendant filed a motion for summary judgment Plaintiff is allowed 30
days from the date of service of the motion to tile a response. Some seventy-five (75) days after
filing of the motion, Plaintiff has failed to tile a responsel

Plaintiff is hereby ordered to file a written response to the summary judgment motion on or

before August 31, 2005. Failure to timely respond Will be deemed as a waiver, and the motion Will

Laa¢¢z,, 2005.

CE BOUIE DONALD
TED STATES DISTRICT IUDGE

be decided on the existing record.

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with Ftule 58 and/or 79{a} FFtCP on ¢§" MQ '.`/Jf 3 /

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:03-CV-02887 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

